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 9                       THE UNITED STATES DISTRICT COURT
10                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                              SAN FRANCISCO DIVISION
12
   AVIVA KELLMAN, JASON FRY, and              Case No. 3:21-cv-08976-WHO
13 NICHOLAS NEWELL, individually and on
   behalf of all others similarly situated,   DECLARATION OF MICHAEL
14                                            NAAMAN, PH.D. IN SUPPORT OF
                           Plaintiffs,        PLAINTIFFS’ MOTION FOR CLASS
15                                            CERTIFICATION
   vs.
16
                                              Complaint Filed: Nov. 19, 2021
17 SPOKEO, INC.,
                                              Judge William H. Orrick III
18                     Defendant.
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     DECLARATION OF MICHAEL NAAMAN, PH.D. IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS
                        CERTIFICATION (Case No. 3:21-cv-08976-WHO)
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 1 1.     Introduction and Summary ........................................................................................................ 1

 2 2.     Class Definitions.......................................................................................................................... 1

 3 3.     Estimation of Class Size .............................................................................................................. 2

 4      3.1.    Estimation of “Published Teaser Profile” Classes ..................................................................... 2

 5      3.2.    Estimation of “Viewed-Prior-to-Purchase” Classes .................................................................. 5

 6 4.     Conclusions ............................................................................................................................... 11

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 1 1. Introduction and Summary

 2          1.      I have been retained in the above-referenced litigation as an expert on estimating

 3 class size and measuring class-wide damages. I am a Senior Consultant at Coherent Economics

 4 and have worked on estimating class size and damages in a wide variety of class action lawsuits,

 5 which are detailed in my CV, attached hereto as Appendix A. Additionally, I received my Ph.D.

 6 in Economics from Rice University and a Masters in Statistics from Tulane University. My hourly

 7 billing rate for this case is $585.

 8          2.      To support their Class Certification motion, Counsel has asked me to estimate the
 9 sizes of the Classes Plaintiffs seek to certify. I understand from Counsel that all six Classes assert

10 claims arising from Spokeo’s commercial use of Class members’ names and personas to advertise

11 subscriptions without their permission. The various Classes differ in the specific state laws under

12 which the claims arise (California, Ohio, or Indiana), and in whether the advertisements have

13 already been successful in drawing a subscription purchase. I have not been asked to opine on the

14 issue of liability. Rather, the scope of my assignment is limited to estimating Class sizes and

15 explaining how Class-wide damages can be calculated.

16

17 2. Class Definitions

18          3.      I have been asked to consider six Classes. Three of the Classes are nationwide in

19 scope, while the others are limited to residents of California or Ohio. Three of the Classes include

20 only individuals whose teaser profiles were successful in drawing a purchase over a given time

21 period. Three of the Classes include all individuals who have searchable teaser profiles published

22 on Spokeo.com, regardless of whether their profiles have yet drawn a sale. The Class definitions

23 exclude individuals who are registered users of Spokeo.com and are limited to individuals whose

24 teaser profiles on Spokeo.com include at least a name and home address.

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     Viewed-Prior-to-Purchase Classes:
 1

 2 Nationwide Viewed-Prior-to-Purchase Class (claims under California law): All United States
   residents who are not registered users of Spokeo.com and whose teaser profile was viewed by a
 3 user immediately prior to purchasing a Spokeo.com subscription on or after November 19, 2019,
   where such teaser profile includes a name and home address.
 4
   California Viewed-Prior-to-Purchase Class (claims under California law): All California
 5
   residents who are not registered users of Spokeo.com and whose teaser profile was viewed by a
 6 user immediately prior to purchasing a Spokeo.com subscription on or after November 19, 2019,
   where such teaser profile includes a name and home address.
 7
   Nationwide Viewed-Prior-to-Purchase in Indiana Class (claims under Indiana law): All United
 8 States residents who are not registered users of Spokeo.com and whose teaser profile was viewed
   by a user immediately prior to purchasing a Spokeo.com subscription on or after November 19,
 9
   2019, where the purchasing user’s billing information listed an address in Indiana, and where such
10 teaser profile includes a name and home address.

11 Published Classes:

12 Nationwide Published Teaser Profile Class (claims under California law): All United States
   residents who are not registered users of Spokeo.com and whose teaser profile is searchable on
13
   www.spokeo.com, where such teaser profile includes a name and home address.
14
   California Published Teaser Profile Class (claims under California law): All United States
15 residents who are not registered users of Spokeo.com and whose teaser profile is searchable on
   www.spokeo.com, where such teaser profile includes a name and home address.
16

17 Ohio Published Teaser Profile Class (claims under Ohio law): All Ohio residents who are not
   registered users of Spokeo.com and whose teaser profile is searchable on www.spokeo.com, where
18 such teaser profile includes a name and home address.

19

20 3. Estimation of Class Size

21       3.1.        Estimation of Size of “Published Teaser Profile” Classes

22              4.      Spokeo allows users to search profiles by name, address, phone number, and email

23 address. Spokeo has roughly 638 million profiles 1 which greatly exceeds the U.S. adult population.

24 It appears quite likely that the Spokeo database includes all or nearly all of the U.S. adult

25 population.

26
     1
     Spokeo does not provide information for children. See, “Privacy Policy” Spokeo.com, available
27 at https://www.spokeo.com/privacy-policy
                                                  2
         DECLARATION OF MICHAEL NAAMAN, PH.D. IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS
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 1           5.
                                                                                                         2
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 3 As of 2022, the adult US population was around 260 million people. Infutor,

 4           , claims to have data about 266 million consumers. 3
                                                                                                         4
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 8           6.                                                it would seem that virtually the entire
 9 adult U.S. population is covered by the Spokeo database in one way or another. However, there

10 are some exceptions that require deductions.
                                                                                              7
11           7.                                                                                   However,

12 the homeless are unlikely to have a home address, so I have used an estimate of homelessness

13 which can be deducted from the adult population.

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     See Kellman_00006062.
24   3
     “Total Consumer History,” Infutor.com, available at https://infutor.com/on-premise-
   identities/total-consumer-history/.
25 4
     See Kellman_00000383 and Kellman_00000394.
   5
26 See Kellman _00000103.
   6
     See Kellman_00000220.
27 7 See Osborn Decl., Ex. 4 (transcript of Michael Daly on December 15, 2022), pg. 60.
                                                   3
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 1           8.     The Class definitions also exclude registered users of Spokeo.com. Accordingly, I

 2 deducted the number of Spokeo subscribers in each of the relevant geographies. 8 Exhibit 1 reflects

 3 my estimates of the Published Class sizes after deducting the number of homeless and the number

 4 of Spokeo subscribers.

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21           9.     As shown in Exhibit 1, I estimate that the Nationwide Published Teaser Profile
22 Class has 253.7 million members, the California Published Teaser Profile Class has 29.3 million

23 members, and the Ohio Published Teaser Profile Class has 9.0 million members.

24

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     8
    See Spokeo, Inc.’s Third Amended and Supplemental Responses and Objections to Plaintiffs’
27 Requests for Production (Set One)
                                             4
         DECLARATION OF MICHAEL NAAMAN, PH.D. IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS
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 1        3.2.         Estimation of “Viewed-Prior-to-Purchase” Classes

 2               10.      I have also been asked to estimate sizes for the Classes comprised of teaser profiles

 3 that were viewed immediately before a user purchased a Spokeo subscription.

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 8               11.      The same profile can be viewed by many users.
                                                                                           10
 9

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12                                                                                              To avoid double

13 counting teaser profiles that generated more than one purchase,

14

15               12.      There is an additional wrinkle because it could be the case that a user viewed their

16 own teaser Profile before buying a subscription, but Spokeo subscribers are not included in the

17 class definition. These self-subscribers need to be deducted from the class size.

18               13.

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                                                                               12
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21               14.      This overcounts the number of self-Subscribers because it will include things like

22 a family member with the same last name purchasing a subscription after viewing a profile that is

23 not their own, but it has the same last name. I accounted for some of this overage by de-duplicating

24
     9
25   See Kellman_00011909.
     10
      See MuskCount.txt (contained in my backup materials).
26 11 See Kellman _00006062.
     12
                                                                                                           See
27 Spokeo, Inc.’s Corrected Response and Objections to Plaintiffs’ Interrogatory No. 23”, pg. 4.
                                                5
          DECLARATION OF MICHAEL NAAMAN, PH.D. IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS
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 7                                                                                         Nevertheless,

 8 overestimating the number of self-Subscribers makes my estimate of the class size more
 9 conservative because I deducted the self-Subscribers. In Exhibit 2, I report the estimated

10 duplication rate associated with self-Subscribers

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25          16.    Generally, there were fewer duplicates for the self-subscribers relative to

26 The percentage of duplicates is quite low.

27                                                            For example, if there were many people
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      DECLARATION OF MICHAEL NAAMAN, PH.D. IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS
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 1 searching for family members with the same name, I would expect to see many instances with

 2 multiple common last names                                                                     is less

 3 worrisome because some duplication should be expected as users can search for the same profile

 4 before purchasing a subscription.

 5             17.    The Viewed-Prior-to-Purchase Class periods begin in November 2019. Although

 6 there is significant overlap, there is not a perfect match between the Class period (November 2019

 7 to the present) and the time period for which                                             I make the

 8 mild assumption that duplication rates are similar between the period for which Spokeo produced
 9 data and the date range of the relevant Class periods.

10             18.
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                                             13
13                                                In Exhibit 3 below,

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          See Spokeo, Inc.’s Corrected Response and Objections to Plaintiffs’ Interrogatory No. 15”.
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          DECLARATION OF MICHAEL NAAMAN, PH.D. IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS
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14             19.    As shown in Exhibit 3, using this methodology, I estimate that the Nationwide
15 Viewed Prior-To-Purchase Class has 335,853 members, that the California Viewed-Prior-To-

16 Purchase Class has 43,834 members, and that the Nationwide Viewed-Prior-To-Purchase in

17 Indiana Class has 6,760 members.

18             20.    Counsel have informed me they intend to seek statutory minimum damages for the
19 Viewed-Prior-to-Purchase Classes. Counsel informed me that they intend to seek statutory

20 damages of $1,000 under Indiana law 14 for members of the Nationwide Viewed-Prior-to-Purchase

21 in Indiana Class. Counsel informed me that they intend to seek statutory damages of $750 under

22 California law for members of the Nationwide and California Viewed-Prior-to-Purchases Classes

23 who are not also entitled to statutory damages under Indiana law. 15 Class-wide damages may be

24 calculated by multiplying the Class size by the corresponding minimum statutory damage amount.

25

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     14
          See IN Code § 32-36-1-10 (providing for statutory damages in the amount of $1,000).
27   15
          See Cal Civ. Code § 3344 (providing for statutory damages in the amount of $750.
                                                      8
          DECLARATION OF MICHAEL NAAMAN, PH.D. IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS
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 1            21.    My methodology relies on            to identify individuals, but there may be some

 2 concern that there are multiple          associated with the same individual. If there are many

 3 associated with the same individual, then deduplicating             may result in overestimation of the

 4 class size.

 5            22.

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12            23.    Nevertheless, I have investigated this possible source of bias by deduplicating by

13 full names                   . With this approach, if there are multiple full names

14         , I only count the common full name. This is likely to undercount the class size because many

15 people can have the same first and last name. In Exhibit 4, I calculated class size in the same

16 fashion as for Exhibit 3 except I deduplicated by names instead of         .

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25   16
      See Kellman_00000394, pg. 20.
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26    “Total Consumer History” Infutor.com, available at https://infutor.com/on-premise-
   identities/total-consumer-history/.
27 18 See Kellman _00000213.
                                                 9
          DECLARATION OF MICHAEL NAAMAN, PH.D. IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS
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15          24.    The size of the Classes using this conservative methodology is very similar to the
16 estimates in Exhibit 3.

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19          25.    As shown in Exhibit 4, using this methodology, I estimate that the Nationwide
20 Viewed Prior-To-Purchase Class has 322,246 members, that the California Viewed-Prior-To-

21 Purchase Class has 39,424 members, and that the Nationwide Viewed-Prior-To-Purchase in

22 Indiana Class has 6,486 members.

23          26.    Finally, I note that the estimates in Exhibits 3 and 4 are significantly understated
24 because they do not take into account teaser profiles that were viewed and lead to a purchase after

25 the cutoff date for the data I relied upon. For example, the estimates do not take into account the

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 1 number of teaser profiles that lead to a purchase in the year 2023. I anticipate updating my

 2 calculations when updated data becomes available.

 3

 4 4. Conclusions

 5          27.    My assignment was to calculate Class sizes and explain how damages would be

 6 calculated. I reviewed the available evidence and used Spokeo’s internal data to estimate the Class

 7 sizes. I used specialized software, STATA, to process Spokeo’s data allowing me to accurately

 8 determine the various Class sizes. It is my opinion that the estimated Class sizes for the Published
 9 Teaser Profile Classes in Exhibit 1 and the Viewed-Prior-to-Purchase Classes in Exhibit 3 are

10 appropriate.

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      DECLARATION OF MICHAEL NAAMAN, PH.D. IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS
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4    May 3, 2023
                                              Michael Naaman
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1                                    CERTIFICATE OF SERVICE

2           I, Raina C. Borrelli, hereby certify that I electronically filed the foregoing with the Clerk

3    of the Court using the CM/ECF system, which will send notification of such filing to counsel of

4    record via the ECF system.

5           DATED this 3rd day of May, 2023.

6
                                              TURKE & STRAUSS LLP
7

8
                                              By: /s/ Raina C. Borrelli
                                                  Raina C. Borrelli (pro hac vice)
9                                                 raina@turkestrauss.com
                                                  TURKE & STRAUSS LLP
10                                                613 Williamson St., Suite 201
                                                  Madison, WI 53703
11                                                Telephone: (608) 237-1775
12                                                Facsimile: (608) 509-4423

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